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                                                                                                                             ESPANOL
                                                                                                                           /&/



             NFL OPS.HONORING
                 THE GAME
                               It's our responsibility to strengthen the sport

                                                                                                                      SHARE THIS PAGE




                                                                                     (   /   footba   I I   -   o   p_slnlLa p_s:hanam   g -t h (


      HONORING THE GAME
                                                       HEALTH   &SAFETY//FO2IB411-0P9ilF1-OP5-HOil                      -IHEGA//[/ /THS


H   EALTH & SA FETY RU LES CH ANGEV/FOO TBA / / - OPVTUF/ -OP5-HOTUOR/M- THFGA               TUE /



    t NFL Football Operations, our mission is to ensure the
    reatest game.

ootball operations serves a pivotal role in the evolution
f the game. lt's our responsibility to balance the people
hat make our game great      the players, coaches,
                                     -
eams and officials         with the game's rules, player
                       -
rotectio n, and tech no    I   o   gV_(/the   -   ga   me/te    c   hn ol o gyl).

 e strive to foster a culture of clarity, consistency, and
redibility, to position our sport for long-term success.



                                                                                                                00 45
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we're charged with meeting the challenges of the
                                                       NFL Footbat operations strives to create e
game, including player health and protection, which is credibitity to proactivety meet the demand:
our primary concern. Our game is at its best when the
best players in the wgd_d_(/the-players/evolution-offfiplayer/) are on the
field. Finding the right balance of rules and teaching proper football techniques
     ks, and it shows that we can make the game progressively better




IMPACTTHAT EXTENDS BEYOND THE F
  e NFL takes seriously its responsibility to help create
       men and women of character (/the-
                                      through the lessons
  rned from football. No matter how you're involved
  th the game       or at what level         football builds
                -                       -
haracter, develops leadership, instills tenacity & shows
he results of hard work and perseverance. Football
   ches teamwork and shows the power of being part
  something bigger than yourself


     "Community, Iove, care, compassion,
     competitiveness, teamwork, intensity         Long after                              lights are out, long after the
                                                          is just
     - all of these words come to mind
                                                  victory                                   memory, the passion and p

     when I think of the values of foothall. I
              how to be a better man because of football"
                _ TROY VINCENT, EXECUTIVE                   VICE PRESIDENT OF NFL
                    FOOTBALL OPERATIONS

ans from around the country recorded videos                  individually and in groups
                                                        -                                  -
hat describe the powerful impact football has had on their lives. Visit Together                                       I
                                        getherwemakefootball.com) to watch their                                      I
 ories and find out how football inspires             on and off the field                                            (
                                                  -
    NFL proudly honors its commitment to              @_(/football-
                                     The league gives back to those who play, watch,
  rticipate in or just love       football
                              -
    Case 2:19-cv-01811-BWA-DMD Document 1-2 Filed 02/27/19 Page 3 of 5
Our impact is about more than just game days, it's about being an active member
in our community       and in all communities.
                   -




MANAGING THE GREATEST GAME
 ur responsibilities extend to ensuring the rules (/the-
        and the officiating_(/the-officials/) are consistent
 nd fair to all competitors. That means creating rules
 nd guidelines that apply to everyone involved in our
 ame.


t is important for the health and benefit of the game to
 reserve and honor the league for all those involved
 layers, coaches, clubs and fans.


ln Football Operations, we pay meticulous attention to
      detail involved in running the league, not just on
                                                               Watch football evolve from its humble begi
  me day but every day
                                                               explore the history of Player Health and Sr
                                                               Ihttp //nf l. com /evolglial).
                                                                    :



   craft and modify the rules to benefit the game and
 aintain competitive equity. We hire, evaluate and train
 e best officials around. We assess and implement technology- embracing                                  T


  ange while respecting tradition
                                                                                                        !
                                                                                                        !
    e all, through the use of rules, technique and technology, we make the game
 rogressively better




UPHOLDING THE GREATEST GAME
  e league's world-class athletes, coaches and staff overwhelmingly conduct
hemselves in a way that honors the sport and respects the game, their fellow
layers, the fans and the league
        Case 2:19-cv-01811-BWA-DMD Document 1-2 Filed 02/27/19 Page 4 of 5
     Occasionally, one's actions may fail to live up to the league's expectations. lt is up
     to the league, the players and the NFL Players Association to make sure the rules                       I
     are enforced   (/football-o@)                          in a way that honors the                         (
     game. Football Operations makes sure that players, teams and coaches exhibit                            I
vt   exemplary behavior on and off the field.                                                                I
                                                                                                             t
     n doing so, the NFL fulfills its responsibilities to players, officials and business                    (
      artners, as well as to the game's young fans and their parents. lt ensures that
     he tradition, character and reputation are passed on and we preserve the game.




                                                               RELATED CONTENT




                 Honoring the league's...                           Ensuring that players conduct*
                                                       (/football-o@)                                      (lJs




                                                                    FOOTBALL
                                                                    NPHRATIilNS
                                                                                                     _ut
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       The Officials          (/the-officials/)          i   The Rules (/the-rules/)   I   Football 101 (/football-l0l/)

                                                                   updates-(fu@il I            search (/search/)


            NFL Football Operations'mission is to establish a culture of clarity, consistency and credibility in all asp
             an essential piece of America's fabric, uniting fans, players and communities with a simple yet powerfr
                         while continuing to innovate and preserve our sport for future generations of fans, players, c

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